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                  EXHIBIT B-2
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11
     Attorneys for Defendant Google LLC
12
                                 UNITED STATES DISTRICT COURT
13
                  NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
14
                                                      Case No. 5:20-cv-03664-LHK-SVK
15    CHASOM BROWN, et al., on behalf of              Case No. 5:20-cv-05146-LHK-SVK
      themselves and all others similarly situated,
16                                                    AFFIDAVIT OF DOUGLAS A. BRUSH
            Plaintiffs,                               PURSUANT TO 28 U.S.C. § 455
17
                   v.                                 Referral: Hon. Susan van Keulen, USMJ
18
      GOOGLE LLC,
19
             Defendant.
20

21 PATRICK CALHOUN, et al., on behalf of
   themselves and all others similarly situated,
22
          Plaintiffs,
23
                 v.
24
     GOOGLE LLC,
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          Defendant.
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                                                                     Case No. 5:20-cv-03664-LHK-SVK
                                                                     Case No. 5:20-cv-05146-LHK-SVK
                                         AFFIDAVIT OF DOUGLAS A. BRUSH PURSUANT TO 28 U.S.C. § 455
     Case 4:20-cv-03664-YGR Document 205-7 Filed 06/29/21 Page 3 of 4




 1         I, Douglas A. Brush, certify and declare as follows:
 2         1.      I am being considered for an appointment to serve as Special Master in the above
 3 referenced matters and make this affidavit pursuant to Federal Rule of Civil Procedure 53(b)(3).
 4         2.      I am qualified to be appointed as a Special Master in these matters under the
 5 disqualification rules provided in 28 U.S.C. § 455. There is no provision in 28 U.S.C. § 455 that
 6 disqualifies me from being appointed a Special Master.
 7         I declare under penalty of perjury of the laws of the United States that the foregoing is true
 8 and correct. Executed in Boulder, Colorado on June 26, 2021.

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10   DATED: 6/26/2021
                                                       DOUGLAS A. BRUSH
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                                                                    Case No. 5:20-cv-03664-LHK-SVK
                                                    1               Case No. 5:20-cv-05146-LHK-SVK
                                        AFFIDAVIT OF DOUGLAS A. BRUSH PURSUANT TO 28 U.S.C. § 455
      Case 4:20-cv-03664-YGR Document 205-7 Filed 06/29/21 Page 4 of 4




 1                                          ATTESTATION

 2         Pursuant to Civil Local Rule 5.1, I hereby attest that Douglas A. Brush, represented by a

 3 conformed signature above, has concurred in the filing of this Affidavit.

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 5   DATED: June 28, 2021                             /s/ Andrew H. Schapiro
                                                      Andrew H. Schapiro
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                                                                     Case No. 5:20-cv-03664-LHK-SVK
                                                     2               Case No. 5:20-cv-05146-LHK-SVK
                                         AFFIDAVIT OF DOUGLAS A. BRUSH PURSUANT TO 28 U.S.C. § 455
